Case 20-16809-RG         Doc 46       Filed 10/26/20 Entered 10/26/20 13:40:52           Desc Main
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                     United States Bankruptcy Court
                     _______________ District Of _______________
                                                 NEW JERSEY

      Norman Hyman                                      20-16809-RG




    Community Loan Servicing, LLC                       Bayview Loan Servicing, LLC



                                                                                  6-1
                                                                           $381,321.26
     Community Loan Servicing, LLC                                         8/3/2020
     4425 Ponce De Leon Blvd., 5th Floor
     Coral Gable, FL 33146

          800-771-0299                                          800-771-0299
                              6784                                                    6784




     Community Loan Servicing, LLC
     Attn: Cashiering Dept.
     4425 Ponce De Leon Blvd., 5th Floor
     Coral Gable, FL 33146
          800-771-0299
                               6784




                                                                  10/22/2020
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                                            Delaware                                         Page 1

                                                        The First State



              I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

     DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

     COPY OF THE CERTIFICATE OF AMENDMENT OF “BAYVIEW LOAN

     SERVICING, LLC”, CHANGING ITS NAME FROM "BAYVIEW LOAN

     SERVICING, LLC" TO "COMMUNITY LOAN SERVICING, LLC", FILED IN

     THIS OFFICE ON THE SIXTEENTH DAY OF SEPTEMBER, A.D. 2020, AT

     8:54 O`CLOCK A.M.

              AND I DO HEREBY FURTHER CERTIFY THAT THE EFFECTIVE DATE OF

     THE AFORESAID CERTIFICATE OF AMENDMENT IS THE TWENTY-EIGHTH DAY

     OF SEPTEMBER, A.D. 2020.




                                                                             Authentication:
                                                                                         Date: 09-17-20
 You may verify this certificate online at corp.delaware.gov/authver.shtml
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